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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

    MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


DEMONTRAY HUNTER, et al.,           )
                                    )
     Plaintiffs,                    )
                                    )        CIVIL ACTION NO.
     v.                             )          2:16cv798-MHT
                                    )              (WO)
LYNN T. BESHEAR, in her             )
official capacity as the            )
Commissioner of the                 )
Alabama Department of               )
Mental Health,                      )
                                    )
     Defendant.                     )

    ORDER ON JOINT REMEDIAL PLAN FOR NONCOMPLIANCE
                 WITH CONSENT DECREE

    The claim presented in this litigation is that the

Alabama   Department     of   Mental      Health   (ADMH)    fails      to

provide timely competency mental-health evaluations and

restoration    treatments      to       pretrial   detainees.        The

claim rests on the Due Process Clause of the Fourteenth

Amendment, as enforced through 42 U.S.C. § 1983.                     The

plaintiffs    are     the     Alabama       Disabilities      Advocacy

Program   (ADAP),      Alabama’s         protection   and     advocacy
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organization           for        people       with     mental     illness      and

disabilities, and a previously certified class of (a)

pretrial detainees who may be incompetent and have been

committed to ADMH for an inpatient mental evaluation

and     (b)     pretrial           detainees          who   have       been   found

incompetent to stand trial and committed to the custody

of    the     ADMH    for    competency          restoration.           See   Final

Settlement Approval and Order (doc. no. 93 at 93-94)

(certifying class).                The defendant is the Commissioner

of    the     ADMH,        sued    in   her      official     capacity        only.

Jurisdiction is proper under 28 U.S.C. § 1331 (federal

question) and 28 U.S.C. § 1343 (civil rights).                                  The

parties reached a settlement agreement, and the court

entered the agreement as a consent decree.                               See Final

Settlement Approval and Order (doc. no. 93).                             Defendant

has had difficulty complying with the consent decree.

See Joint Status Report (doc. no. 122).

      This matter is now before the court on the proposed

remedial plan (doc. no. 124) submitted by the parties

to    resolve        the    noncompliance         issue.         The    court   has



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reviewed    and   now        approves       the     provisions      of    the

proposed order, with minor revisions.

                                     ***

       Accordingly,     it    is     ORDERED        that   the    parties’

proposed order (doc. no. 124) is adopted as an order of

the court, as set forth below.




         I. SCHEDULE FOR PREPARATION AND IMPLEMENTATION
                           OF REMEDIAL PLAN

 Deadline                                  Activity

May 2, 2019    ADMH      engages            compliance        consultant

               selected            after          consultation       with

               plaintiffs

June 17,       Compliance consultant submits report to

2019           defendant             outlining         barriers           to

               compliance          with     the     consent      decree’s

               timelines for service provision, which is

               shared         with        plaintiffs       within        one

               business day




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July 1,        Compliance         consultant            submits        to

2019           defendant      a   remedial       plan     to     address

               compliance           barriers          outlined          in

               consultant’s       initial       report,        which    is

               shared with plaintiffs on the same day

July 3,        Parties     meet     and      confer   regarding        the

2019           consultant’s remedial plan

July 24,       ADMH    provides         plaintiffs      with     amended

2019           remedial plan, if necessary

August 1,      Amendments to remedial plan, if any, are

2019           complete,      and       ADMH    implementation         of

               remedial plan begins

August 2,      ADMH provides plaintiffs final version of

2019           remedial plan

September      Implementation           of     remedial        plan     is

1, 2019        complete, and the plan is filed with the

               court




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September         ADMH provides plaintiffs with a written

16, 2019          status     report        on    compliance          following

                  implementation of remedial plan

October 1,        Parties meet and confer regarding status

2019              of compliance, if necessary

October 15,       Parties       file        joint        status        report

2019              regarding      compliance            with    the     consent

                  decree




     II. SELECTION AND ENGAGEMENT OF COMPLIANCE CONSULTANT


1.     In order to finalize the engagement by ADMH of the

compliance consultant by May 2, 2019, the parties shall

confer regarding the selection of the consultant and

identify the individual whom ADMH will engage by April

12,    2019.      Plaintiffs      shall         have    an    opportunity    to

propose potential consultants and express demonstrable

concerns regarding consultants proposed by ADMH.                             In

the event that plaintiffs have a strong objection to

the    consultant      proposed     by     ADMH,       and    that    objection



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cannot be resolved following a meet and confer between

the     parties,      plaintiffs      shall     file     a    notice       of

objection to the proposed consultant, outlining their

objections      to   same,    and   request     a   status    conference

with the court to address same.

2.    In the event that the parties reach an agreement

concerning the identity of the consultant, ADMH shall

handle       logistical        matters      associated        with     the

engagement      of   the    agreed-upon      compliance      consultant.

Counsel for ADMH shall provide written confirmation of

the engagement of the consultant to plaintiffs’ counsel

once the consultant’s engagement has been finalized.

Upon finalizing his or her engagement, ADMH shall file

a Notice of Engagement of Consultant with the court,

identifying the consultant.




            III. REPORT ON BARRIERS TO COMPLIANCE AND
                             REMEDIAL PLAN


1.    Report on Barriers to Compliance




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  i.         The    compliance        consultant       shall    confer      with

relevant ADMH personnel regarding the current processes

through        which      ADMH        delivers        outpatient       mental

evaluations,           inpatient        mental         evaluations,          and

competency restoration treatment to class members; and

review     operational      records         and   data    reflecting       these

processes, the monitoring reports for the April 25, 2018

through July 31, 2018, August 1, 2018 through October

31, 2018, and November 1, 2019 through January 25, 2019

monitoring       periods,     and     all     other      relevant     material

prior to the preparation of his or her report outlining

all    current     barriers      to    compliance        with   the   consent

decree.

 ii.         The compliance consultant shall deliver his or

her report on the barriers to compliance to ADMH no

later than June 17, 2019.               The compliance consultant’s

initial      report     shall    include          a   description     of    the

personnel with whom the consultant conferred and the

materials reviewed prior to preparing the report on the

barriers to compliance.



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iii.        ADMH shall file with                the court a Notice of

Receipt of Report on Compliance Barriers upon receiving

the compliance consultant’s report.

 iv.        ADMH shall provide plaintiffs a copy of the

compliance       consultant’s     report         on    compliance      barriers

within one business day of its receipt of same.

  v.        If    plaintiffs      dispute         the      adequacy        of     the

consultant’s report or otherwise have specific concerns

regarding        the   content    of       the        consultant’s         report,

plaintiffs       shall   advise    ADMH      of       their      objections       in

writing within three business days of receiving a copy

of the report, and the parties shall meet and confer

within two business days of ADMH’s receipt of notice

regarding    plaintiffs’         objections           to   the    consultant’s

report.     If plaintiffs express specific objections to

the consultant’s report and those objections cannot be

resolved by the parties during their meeting to address

plaintiffs’ objections, plaintiffs shall file a Notice

of Objection to Content of Consultant’s Report with the

court,    advising       the   court       of     the      nature     of        their


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objections         and   whether      they    believe    that    the    matter

needs to be referred for dispute resolution under the

terms of the consent decree.

  vi.         If defendant disputes certain aspects of the

consultant’s plan, she will also have the opportunity to

object to these aspects with the court, using the same

process       as   set   forth     in   the    preceding      paragraph      for

plaintiffs.

 vii.         Defendant        will     continue        her     efforts       to

remediate non-compliance even after the consultant is

engaged.

viii.         All parties will have the opportunity at any

time     to    meet      and   confer    and    offer     input       into   the

consultant’s remediation plan, including impossibility,

illegality,         or    concepts      outside     the       scope    of    the

consent                                                                decree.




2.      Remedial Plan.




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  i.        On    or     before   June      30,   2019,    the     compliance

consultant, working with relevant ADMH personnel, shall

prepare a detailed remedial plan outlining all actions

and capacity development necessary for ADMH to come into

compliance with the consent decree, and a timeline for

the implementation of the remedial plan.                           ADMH shall

provide a copy of the remedial plan to plaintiffs within

twenty-four hours of its receipt of same, and in no

event later than July 1, 2019.               ADMH shall file a notice

of its receipt of the remedial plan with the court upon

receiving        the     remedial     plan        from    the      compliance

consultant.

 ii.        On or before July 3, 2019, the parties shall

meet   and       confer      regarding        the        content     of   the

consultant’s           remedial     plan.          ADMH    shall      provide

plaintiffs with amendments to the remedial plan, if any,

by July 24, 2019.           Plaintiffs shall advise ADMH of any

objections to the amended remedial plan within three

business days of their receipt of same.                          The parties

shall meet and confer regarding plaintiffs’ objections



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to     the    amended       remedial      plan,    if    any,    within     two

business days of plaintiffs’ notice of any objections to

the amended remedial plan.

iii.           If plaintiffs express specific objections to

the       remedial        plan    and    those    objections       cannot    be

resolved by the parties during their meeting to address

plaintiffs’ objections, plaintiffs shall file a notice

of their objection to the content of the remedial plan

with the court, advising the court of the nature of

their       objections       and      whether    they    believe    that    the

matter needs to be referred for dispute resolution under

the           terms              of      the           consent          decree.



3.        Implementation of Remedial Plan

     i.        On    or     before      August    1,    2019,    ADMH     shall

finalize its remedial plan to come into compliance with

the consent decree and shall begin implementation of

same.        ADMH shall provide plaintiffs a copy of its final

remedial plan by August 2, 2019.




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 ii.         ADMH     shall      complete    implementation       of    the

remedial plan, and file it with the court, on or before

September 1, 2019.

iii.         On     September     16,     2019   ADMH   shall     provide

plaintiffs with a written status report on compliance

following its implementation of the remedial plan.

 iv.         On or before October 1, 2019, the parties shall

meet and confer regarding the status of compliance with

the consent decree following ADMH’s implementation of

the remedial plan.




       IV.    MONITORING OF THE PARTIES’ REMEDIAL EFFORTS
                             BY THE COURT
   i.        The    court     will   monitor     the    status    of    the

parties’      efforts       to   address    noncompliance        with   the

consent decree through the procedural notices indicated

above, which allow the court to monitor whether any

disputes that may arise are sufficiently disruptive to

the process outlined in those sections to warrant the

court’s intervention.



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 ii.       The parties shall file a joint status report on

compliance with the consent decree on or before October

15, 2019.

       DONE, this the 12th day of April, 2019.

                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE




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